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                     UNITED STATES BANKRUPTCY COURT FOR THE
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

 In re:                                           Case No.: 23-13357-PDR

 DAVID WALLACE GEMMELL                            Chapter 13

         Debtor.
 _____________________________/



                OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN

          Dr. Arezou Shahbazi, Dr. Joshua Kats and Dr. Sean Hershberger (collectively, the

“Creditors”) object to the Chapter 13 Plan (Individual Adjustment of Debts) (the “Plan”) [ECF

No. 2] filed by David Wallace Gemmell, debtor (the “Debtor”), and in support thereof states:

                                           BACKGROUND

          1.    On February 13, 2023, the Creditors filed a complaint against the Debtor in the

Superior Court for Los Angeles County, Santa Monica Division, Case No. 23SMCV00652 (the

“Compaint”). The Complaint seeks damages against the Debtor for breach of fiduciary duty,

breach of contract and fraud. A copy of the Complaint is attached here to as Exhibit “A”.

          2.    On April 28, 2023, the Debtor commenced this case by the filing of a voluntary

petition for bankruptcy pursuant to Chapter 13 of Title 11 of the United States Code (the

“Bankruptcy Code”).      Along with his bankruptcy petition, the Debtor filed Schedules and a

Statement of Financial Affairs (collectively, the “Schedules”) [ECF No. 1] and Chapter 13

Calculation of Your Disposable Income (Official Form 122C-2) (the “Disposable Income

Calculations”) [ECF No. 5].

          3.    Based on the Voluntary Petition Attachment Additional Sole Proprietorships (Form

101) included with the Schedules, the Debtor claims he is the sole proprietor of several entities,


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yet he fails to provide any information concerning the value or business affairs of any of these

entities (the “Business Interests”). The Creditors disagree that one of the listed Business Interests,

DentistryX LLC, is a sole proprietorship. As described by the Complaint, the Debtor agreed to

purchase each of the Creditors’ membership interest in DentistryX LLC but failed to consummate

any of the purchase transactions.

         4.    The Schedules list each of the Creditors in an amount unknown and as “contingent,”

“unliquidated,” and “disputed”. The Schedules also classify the type of nonpriority unsecured

claim in favor of each of the Creditors as “other,” without any further specification. Neither the

Schedules nor the Creditor Matrix list a mailing address for any of the Creditors.

         5.    On even date herewith, each of the Creditors timely filed a Proof of Claim against

the Debtor in the amount of $125,000 (Claim Nos. 10, 11 and 12, respectively).

                                      OBJECTION TO THE PLAN

         6.    The Plan fails to provide for the treatment of the claims asserted by the Creditors.

         7.    Because the Debtor has failed to provide any transparency, valuation or analyses

with respect to any of the Business Interests, it is unclear whether unsecured creditors would

receive a greater distribution if the Debtor’s assets were liquidated under Chapter 7. For instance,

as alleged in the Complaint, the Creditors believe there are claims arising out of the Debtor’s

management and control of DentistryX LLC which, if pursued by a Chapter 7 trustee indirectly or

after substantive consolidation, could create greater value to unsecured creditors.

         8.    The Disposable Income Calculations include expenses which fall outside of the

range of reasonableness, or are unexplained. For instance, the Debtor lists a monthly

“Business/Licensing Expense” of $7,000 as a “special circumstance” with no detailed explanation

or justification for this recurring expense which, annualized, is $84,000.




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         9.     Based on the foregoing, the Plan fails to comply with the Bankruptcy Code, was

not filed in good faith and does not present a distribution to unsecured creditors which exceeds the

amount which would be paid in a liquidation under Chapter 7 of the Bankruptcy Code. For this

reason, the Plan fails to meet the requirements of Sections 1325(a)(1), (3) and (4) of the Bankruptcy

Code and confirmation should be denied.

         10.    The Creditors reserve the right to supplement or amend this Objection to

Confirmation if necessary.

         WHEREFORE, the Creditors respectfully request the entry of an Order which denies

confirmation of the Plan unless such plan is amended to overcome the objection of the Creditors

as stated herein, and for such other and further relief as the Court deems just and proper.

 Dated: June 26, 2023                              Respectfully submitted,

                                                   GRAYROBINSON, P.A.
                                                   333 SE 2nd Avenue, Suite 3200
                                                   Miami, FL 33131
                                                   steven.solomon@gray-robinson.com
                                                   Telephone: (305) 913-0367
                                                   Facsimile:     (305) 416-6887
                                                   By: /s/ Steven J. Solomon ______
                                                   Steven J. Solomon, Esq.
                                                   Florida Bar No. 931969
                                                   Counsel to Dr. Arezou Shahbazi, Dr. Joshua
                                                   Kats and Dr. Sean Hershberger




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 26, 2023, a true and correct copy of the foregoing was
served by electronic transmission through the Court’s CM/ECF system upon all parties on the
attached CM/ECF Service List.
                                              /s/ Steven J. Solomon




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                                      SERVICE LIST

23-13357-PDR Notice will be electronically mailed to:

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Dustin Ryan Piercy on behalf of Debtor David Wallace Gemmell
dustin@lightgonzalezlaw.com

Steven J. Solomon, Esq. on behalf of Creditor c/o Steven J. Solomon Dr. Arezou Shahbazi, Dr.
Joshua Kats, and Dr. Sean Hershberger
steven.solomon@gray-robinson.com, Ana.Marmanillo@gray-robinson.com

Robin R Weiner
ecf@ch13weiner.com, ecf2@ch13weiner.com

23-13357-PDR Notice will not be electronically mailed to:

Ally Bank, c/o AIS Portfolio Services, LLC
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118

Ally Servicing LLC as servicer on behalf of Citrus Tree Finance LLC
c/o AIS Portfolio Services, LLC
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118




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Label Matrix for local noticing               Ally Bank, c/o AIS Portfolio Services, LLC       Ally Servicing LLC as servicer on behalf of
113C-0                                        4515 N Santa Fe Ave. Dept. APS                   4515 N Santa Fe Ave. Dept. APS
Case 23-13357-PDR                             Oklahoma City, OK 73118-7901                     Oklahoma City, OK 73118-7901
Southern District of Florida
Fort Lauderdale
Mon Jun 26 15:15:26 EDT 2023
Aidvantage                                    Aidvantage                                       Ally Financial, Inc.
Attn: Bankruptcy                              PO Box 3229                                      PO Box 380901
PO Box 9635                                   Wilmington, DE 19804-0229                        Minneapolis, MN 55438-0901
Wilkes Barre, PA 18773-9635


American Express National Bank                American Express Travel Related Services         American Express Travel Related Services
c/o Becket and Lee LLP                        Attn: Bankruptcy                                 PO Box 981537
PO Box 3001                                   PO Box 981537                                    El Paso, TX 79998-1537
Malvern PA 19355-0701                         El Paso, TX 79998-1537


Amex                                          Amex                                             Bank of America
Correspondence/Bankruptcy                     PO Box 981537                                    Attn: Bankruptcy
PO Box 981540                                 El Paso, TX 79998-1537                           4909 Savarese Cir
El Paso, TX 79998-1540                                                                         Tampa, FL 33634-2413


Bank of America                               Capital One                                      Capital One
PO Box 982238                                 Attn: Bankruptcy                                 PO Box 31293
El Paso, TX 79998-2238                        PO Box 30285                                     Salt Lake City, UT 84131-0293
                                              Salt Lake City, UT 84130-0285


Capital One N.A.                              Citibank                                         Citibank
by American InfoSource as agent               Citicorp Cr Srvs/Centralized Bankruptcy          PO Box 6217
PO Box 71083                                  PO Box 790040                                    Sioux Falls, SD 57117-6217
Charlotte, NC 28272-1083                      Saint Louis, MO 63179-0040


David Gane, CEO of Orbit Imaging Corp.        Department of Education                          (p)INTERNAL REVENUE SERVICE
805 W Broadway #600                           PO Box 5609                                      CENTRALIZED INSOLVENCY OPERATIONS
Vancouver, BC V5Z 1K1 Canada                  Greenville, TX 75403-5609                        PO BOX 7346
                                                                                               PHILADELPHIA PA 19101-7346


Discover Financial                            Discover Financial                               Discover Student Loans
Attn: Bankruptcy                              PO Box 30939                                     Attn: Bankruptcy
PO Box 3025                                   Salt Lake City, UT 84130-0939                    PO Box 30948
New Albany, OH 43054-3025                                                                      Salt Lake City, UT 84130-0948


Discover Student Loans                        Discover Student Loans                           Envy Pompano Beach
PO Box 30925                                  PO Box 30948                                     432 SE 1st St.
Salt Lake City, UT 84130-0925                 Salt Lake City, UT 84130-0948                    Pompano Beach, FL 33060



HHBG Lawyers                                  Mercedes - Benz Financial Services               Mercedes - Benz Financial Services
#305 - 5446 - 152 Street                      Attn: Bankruptcy                                 PO Box 961
Surrey, BC V3S 5J9                            PO Box 685                                       Roanoke, TX 76262-0961
                                              Roanoke, TX 76262-0685
                                   Case 23-13357-PDR            Doc 18          Filed 06/26/23     Page 6 of 15
Mercedes-Benz of Pompano                             Office of the US Trustee                             Sabie Finance
350 W. Copans Rd.                                    51 S.W. 1st Ave.                                     25845 Railroad Ave
Pompano Beach, FL 33064-3266                         Suite 1204                                           Ste 4
                                                     Miami, FL 33130-1614                                 Saugus, CA 91350-2544


Sabie Finance                                        Sallie Mae, Inc                                      Sallie Mae, Inc
Attn: Bankruptcy                                     Attn: Bankruptcy                                     PO Box 9635
25845 Railroad Ave                                   PO Box 9500                                          Wilkes Barre, PA 18773-9635
Ste 44                                               Wilkes Barre, PA 18773-9500
Saugus, CA 91350-2522

Santander Consumer USA, Inc                          Santander Consumer USA, Inc                          Stephen B Morris
Attn: Bankruptcy                                     PO Box 961211                                        2305 Historic Decatur Rd., Suite 100
PO Box 961245                                        Fort Worth, TX 76161-0211                            San Diego, CA 92106-6071
Fort Worth, TX 76161-0244


Truist Bank                                          Truist Bank                                          U S Dept of Ed/Gsl/Atl
Attn: Bankruptcy Mail Code VA-RVW-6290               PO Box 849                                           PO Box 5609
PO Box 85092                                         Wilson, NC 27894-0849                                Greenville, TX 75403-5609
Richmond, VA 23285-5092


U.S. Department of Education                         US Department of Education                           Wells Fargo Educational Financial Servic
ECMC/Attn: Bankruptcy                                PO BOX 16448                                         Attn: Bankruptcy
PO Box 16408                                         Saint Paul, MN 55116-0448                            PO Box 5185
Saint Paul, MN 55116-0408                                                                                 Sioux Falls, SD 57117-5185


Wells Fargo Educational Financial Servic             David Wallace Gemmell                                Dustin Ryan Piercy
PO Box 84712                                         425 SE 1st Ave                                       8751 W Broward Blvd., Ste. #206
Sioux Falls, SD 57118-4712                           APT 808                                              Plantation, FL 33324-2630
                                                     Pompano Beach, FL 33060-7567


Robin R Weiner
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355-9007




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Department of the Treasury - IRS
1111 Constitution Ave, NW.
Washington, DC 20224




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
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(u)Alexa Raitt               (u)Arezou Shahbazi                         (u)Gemmell, David W.




(u)Joshua Kats               (u)Sean Hershberger                        End of Label Matrix
                                                                        Mailable recipients    48
                                                                        Bypassed recipients     5
                                                                        Total                  53
                                       Case 23-13357-PDR                      Doc 18
                                                                                   23SMCV00652
Electronically FILED by Superior Court of California, County of Los Angeles on 02/14/2023      Filed 06/26/23              Page 8 of 15
                                                                                          12:00 AM David W. Slayton, Executive Officer/Clerk of Court, by I. Valencia,Deputy Clerk
                                    Assigned for all purposes to: Santa Monica Courthouse, Judicial Officer: Craig Karlan

                    1
                             Stephen B. Morris (SBN 126192)
                    2        Law Offices of Stephen B. Morris                                                                           EXHIBIT
                             2305 Historic Decatur Rd., Suite 100
                    3
                             San Diego, CA. 92106                                                                                                A
                    4        Email: smorris@stephenbmorrislaw.com
                             Phone: (619) 985-4462
                    5

                    6        Attorney for Plaintiffs
                    7

                    8
                                                SUPERIOR COURT FOR LOS ANGELES COUNTY
                    9
                                                                      SANTA MONICA DIVISION
                  10

                  11          AREZOU SHAHBAZI, JOSHUA      Case No.
                              KATS, and SEAN HERSHBERGER
                  12
                                                           COMPLAINT FOR:
                  13          v.
                                                             1. BREACH OF FIDUCIARY
                  14          DAVID GEMMELL, an individual       DUTY;
                              and DOES 1 through 10.         2. BREACH OF CONTRACT;
                  15
                                                             3. AN ACCOUNTING
                  16                                         4. FRAUD

                  17

                  18         Plaintiffs,           AREZOU                 SHAHBAZI,                    JOSHUA                KATS,             and         SEAN

                  19         HERSHBERGER (“PLAINTIFFS”) allege as follows:
                  20
                                  1. Plaintiff, AREZOU SHAHBAZI ("SHAHBAZI"), is, and at all times
                  21
                             herein mentioned was, a certified radiologist.
                  22

                  23              2. Plaintiff, JOSHUA KATS, ("KATS"), is, and at all times herein

                  24         mentioned was, a certified radiologist.
                  25

                  26                                                              1
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1
        3. Plaintiff, SEAN HERSHBERGER, ("HERSHBERGER"), is, and at all
2
     times herein mentioned was, a certified radiologist.
3

4       4. Defendant DAVID GEMMELL (GEMMELL) is a dentist residing in

5    Florida.
6
        5. DENTISTRY X, LLC, ("DENTISTRY X") is, and at all times herein
7
     mentioned was a limited liability company formed under the laws of the state
8
     of Florida, doing business in Los Angeles California and elsewhere, and
9

10   operated and controlled by GEMMELL.

11      6. Plaintiff are unaware of the true names and capacities of the Defendants
12
     herein designated as DOES 1 through 10, inclusive, and therefore sues such
13
     fictitiously named Defendants by such fictitious names. Plaintiffs will seek
14

15
     leave to amend this Complaint when the true names and capacities of said

16   fictitiously named Defendants are ascertained.
17
        7. Plaintiffs are informed and believe, and based thereon, allege that the
18
     defendants are at all times material hereto, the agent, servant, employee or co-
19
     conspirator of and with the other Defendants and in doing all of the things
20

21   herein alleged were acting within the course and scope of such agency,

22   service, employment and conspiracy.
23
        8. DENTISTRY X was formed by GEMMELL on or about October 23,
24
     2019, for the purpose of investing in various dentistry related ventures.
25

26                                       2
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1
        9. GEMMELL solicited investments from Plaintiffs, who each did invest
2
     $75,000.00. GEMMELL represented and agreed that if Plaintiffs wanted to
3

4    withdraw from the venture, he would later pay them $125,000 each, i.e. he

5    would pay them a return on their investments.
6
        10. From January 2020 until present day, instead of investing Plaintiffs’
7
     money as promised and agreed, Plaintiffs are informed and believe and on that
8
     basis allege GEMMELL has used DENTISTRY X bank accounts as his
9

10   personal line of credit, withdrawing and repaying loans at will without the

11   knowledge, authorization or consent of the members of DENTISTRY X.
12
        11. GEMMELL has used the assets of DENTISTRY X for his own
13
     benefit and has depleted all of its assets to the detriment of Plaintiffs.
14

15
                     FIRST CAUSE OF ACTION
      (BREACH OF FIDUCIARY DUTY, AGAINST ALL DEFENDANTS)
16
        12.     Plaintiffs reallege and adopt and incorporate by reference each and
17

18   every allegation contained in paragraphs 1 through 11 inclusive, of this

19   Complaint as though restated in full herein.
20
        13. GEMMELL is, and at all times herein mentioned was a manager, or
21
     de facto manager, of DENTISTRY X and took control, without Plaintiffs’
22

23   consent, of all aspects of DENTISTRY X. As directors of the company,

24   GEMMELL owed to each of the Plaintiffs a duty of loyalty and/or a duty of
25
     care.
26                                        3
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1
     14. Defendant, GEMMELL has breached his fiduciary duty owed to Plaintiffs,
2
              a. By failing to make accurate and timely distributions to the
3

4                members, including Plaintiffs, and by falsifying the K-1’s issued

5                to Plaintiffs and the Internal Revenue Service.
6
              b. By intentionally usurping       various corporate opportunities
7
                 belonging to DENTISTRY X.
8
              c. By using the DENTISTRY X bank accounts as his personal line
9

10               of credit, withdrawing and repaying loans to himself and to his

11               corporation at will without the knowledge, authorization or
12
                 consent of Plaintiffs.
13
              d. By embezzling funds through unauthorized payments to himself
14

15
                 and his family members each month as additional management

16               fees.
17
              e. By engaging in self-dealing through an attempted purchase of a
18
                 51% equity stake deal in a Vancouver-based imaging center, and
19
                 then presenting a falsified fee structure to the Plaintiffs after
20

21               work had been completed.

22            f. By engaging in self-dealing at a disadvantage to plaintiffs.
23
        15. As a result of the breach of fiduciary duty owed by Defendants to
24
     Plaintiffs, Plaintiffs have been damaged in excess of $225,000.
25

26                                      4
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1
         16. Because GEMMELL’s conduct was malicious, fraudulent and
2
     oppressive and done with a conscious disregard of Plaintiffs’ rights, Plaintiffs
3

4    are also entitled to exemplary and punitive damages in amount to be decided

5    at trial.
6
                    SECOND CAUSE OF ACTION
7        (BREACH OF CONTRACT AGAINST ALL DEFENDANTS)

8        17. Plaintiffs reallege and adopt and incorporate by reference each and
9
     every allegation contained in paragraphs 1 through 15 inclusive, of this
10
     Complaint as though restated in full herein.
11

12
         19. Since Plaintiffs executed a “Shareholder Agreement” (the

13   Agreement) with GEMMELL in January 2020, Plaintiffs have done
14   everything required of them pursuant to the terms of the agreement, but
15
     GEMMELL has breached the agreement by failing to protect Plaintiffs’
16
     investments, failing to keep Plaintiffs’ investment separate from his own
17

18   funds, failing to organize the investments lawfully as an LLC, failing to

19   honor buy back provisions of the Agreement and otherwise failing to comply
20
     with the terms and conditions of the Agreement.
21
     20. As a direct and proximate result of the breaches by Defendants,
22

23   Plaintiffs have been damaged in an amount in excess of $225,000.

24                     THIRD CAUSE OF ACTION
            (FOR AN ACCOUNTING, AGAINST ALL DEFENDANTS)
25

26                                       5
                             SHAHBAZI ET AL v. GEMMELL
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1
           21. Plaintiffs reallege and adopt and incorporate by reference each and
2
     every allegation contained in paragraphs 1 through 20, except paragraph 17,
3

4    inclusive, of this Complaint as though restated in full herein.

5          22. Defendant GEMMELL is in sole possession of the books, assets,
6
     accounts and all other financial information of Defendant DENTISTRY X.
7
           23. Defendant GEMMELL has failed and refused, and continues to
8
     fail and refuse, to provide this information to Plaintiffs, and has blocked
9

10   Plaintiffs’ administrative access to the same. As such, the assets, liabilities,

11   profits and losses related to Defendant DENTISTRY X cannot be
12
     ascertained without a complete accounting of the ongoing financial
13
     operations of Defendant DENTISTRY X.
14

15
           24. Plaintiffs are informed and believe, and based thereon allege, that

16   such a full and complete accounting of the book and records (including
17
     computerized financial records) of DENTISTRY X, is the only way
18
     Plaintiffs can determine the amount of funds and proceeds due and owing
19
     to them and the only way Plaintiffs can calculate the precise amount of
20

21   damages owed to them.

22    25. Plaintiffs have performed each and every obligation required of them
23
         by the Operating Agreement described herein, except those obligations
24
         that have been excused by GEMMELL’s breach.
25

26                                       6
                             SHAHBAZI ET AL v. GEMMELL
27
                                   COMPLAINT
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1
        26. As a direct and proximate result of GEMMELL’s breach of the
2
           Operating Agreement as set forth herein, Plaintiffs have been damaged
3

4          in the sum to be determined at trial.

5                      FOURTH CAUSE OF ACTION
                 (FOR FRAUD, AGAINST ALL DEFENDANTS)
6

7       27. Plaintiffs reallege and adopt and incorporate by reference each and

8    every allegation contained in paragraphs 1 through 26 inclusive, of this
9
     Complaint as though restated in full herein.
10
        28. In or about August to November of 2019, GEMMELL represented to
11

12
     Plaintiffs that he had several clinics contracted for services to be delivered

13   upon website activation, that premium prices were already set at $125-$200
14   per scan, that hundreds of scans per day were expected, and that a massive
15
     social media blitz would be activated by an already-hired marketing team to
16
     ensure a successful website launch.
17

18      29. Based on these representations, Plaintiffs invested their time, energy

19   and money to invest with GEMMELL.
20
        30. At all times herein, Plaintiffs reasonably relied on the representations
21
     described herein made by GEMMELL.
22

23      31. The representations made by GEMMELL were at all times false.

24

25

26                                      7
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1
         32. As a direct and proximate result of GEMMELL’s breach of the
2
     contract as set forth herein, Plaintiffs have been damaged in the sum to be
3

4    determined at trial.

5        33. Because GEMMELL’s conduct was malicious, fraudulent and
6
     oppressive and done with a conscious disregard of Plaintiffs’ rights, Plaintiffs
7
     are also entitled to exemplary and punitive damages in amount to be decided
8
     at trial.
9

10   WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of

11   them, as follows:
12
         1. For damages according to proof at the time of trial;
13
         2. For punitive and exemplary damages in an amount sufficient to punish
14

15
             Defendants;

16       3. For costs of suit herein; and
17
         4. For such other relief as the court deems proper.
18
     Dated: 2/13/23                 LAW OFFICES OF STEPHEN B. MORRIS
19
                                      /s/ Stephen B. Morris
20
                                       ___________________________________
21                                     Stephen B. Morris, counsel for Plaintiffs

22

23

24

25

26                                       8
                             SHAHBAZI ET AL v. GEMMELL
27
                                   COMPLAINT
28
